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                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                  ROME DIVISION

IN RE:                                       )
                                             )       CHAPTER 11
STEPHEN H. BREWSTER, SR.,                    )
                                             )       CASE NO. 14-40039-pwb
       Debtor.                               )

                           APPLICATION FOR FINAL DECREE

       COMES NOW, Stephen H. Brewster (“Debtor”), debtor and debtor-in-possession, by and

through the undersigned counsel, and hereby files this “Application for Final Decree” (the

“Application”).

       On June 20, 2014, the Court entered an order (Doc. No. 103) (the “Confirmation Order”)

confirming the Plan of Reorganization (the “Plan” as modified or amended). There has been

substantial consummation of the Plan. The Plan does not require the transfer of any property.

Additionally, Debtor has assumed the management of all property dealt with by the Plan.

                             Report of Substantial Consummation

       “Substantial consummation” is defined by 11 U.S.C. §1101(2), which provides as

follows:

               (2)    “substantial consummation” means –
                      (A)    transfer of all or substantially all of the property proposed
                             by the plan to be transferred;
                      (B)    assumption by the debtor or by the successor to the debtor
                             under the plan of the business or of the management of all
                             or substantially all of the property dealt with by the plan;
                             and
                      (C)    commencement of distributions under the plan.

The requirements under 11 U.S.C. §1101(2) have been met and are summarized in the Final

Report filed with the Court which is adopted herein as if re-pled verbatim.
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        Debtor seeks to close this case by entry of a Final Decree. Debtor requests that the Court

enter a Final Decree providing that the Debtor is authorize to reopen the case for entry of a

discharge order at a later date and the filing fee for reopening the case shall be waived

        28 U.S.C. §1930(f)(3) authorizes the Court to waive the fee for reopening this Case in

accordance with Judicial Conference policy. The Judicial Conference Schedule of Fees,

Bankruptcy Court Miscellaneous Fee Schedule is issued in accordance with 12 U.S.C. § 1930(b).

Paragraph 11 of the Fee Schedule provides that the Bankruptcy Court may waive a fee upon

“reopening” of a case under chapter 11 “under appropriate circumstances.” Similar relief has

been granted in this District waiving the fee to reopen a Chapter 11 case for entry of discharge in

an individual Chapter 11. See In re Anis Khani, 08-82521-MHM. Bankr. N.D. Ga. (Doc. Nos.

173 and 183).

                                   Application for Final Decree

        As shown above, there has been “substantial consummation” of the Plan as that term is

defined by 11 U.S.C. §1101(2). All property shall re-vest to the Debtor on the Effective Date.

Debtor has assumed management of operations and control over the property, and Debtor has

commenced Plan distributions.

        WHEREFORE, Debtor respectfully requests that the Court grant the Application by

entering a final decree in this case.

        Respectfully submitted this 22nd day of December, 2014.

                                                      JONES & WALDEN, LLC
                                                      /s/ Leslie M. Pineyro
                                                      Leslie M. Pineyro
                                                      Georgia Bar No. 969800
                                                      Attorney for Debtor
                                                      21 Eighth Street, NE
                                                      Atlanta, Georgia 30309
                                                      (404) 564-9300

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                                CERTIFICATE OF SERVICE

        I certify that I caused a true and correct copy of the foregoing “Application for Final
Decree” to be served upon the parties listed below via first class United States mail in a properly
addressed envelope with sufficient postage affixed thereto to assure delivery upon the party
listed below:

       Office of the United States Trustee
       362 Richard Russell Federal Building
       75 Spring Street
       Atlanta, GA 30303

       This 22nd day of December, 2014.

                                                     JONES & WALDEN, LLC

                                                     /s/ Leslie M. Pineyro
                                                     Leslie M. Pineyro
                                                     Georgia Bar No. 969800
                                                     Attorney for Debtor
                                                     21 Eighth Street, NE
                                                     Atlanta, Georgia 30309
                                                     (404) 564-9300




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